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99-cy-00205-JRS- ( 1 of 3 PagelD #: 51
CASE 2:23-8V-002085RSMe Bocument? Filed 04/26/23 Page 6 of 6 Pagel #: 40

United States District Court

for the
Southern District of Indiana

ROSS MARTINIE EILER,
REV. BILL BREEDEN,

Plaintiffs,

VS. Cause No: 2:23-cv-205-JRS-MG

COMPLEX WARDEN, FEDERAL CORRECTIONAL
COMPLEX, TERRE HAUTE, in his official capacity,

Defendant.

SUMMONS IN A CIVIL ACTION

TO: (Defendants’ names and addresses)

Complex Warden, Federal Correctional Complex, 4700 Bureau Road South, Terre Haute, IN 47802

A lawsuit has been filed against you. Within 21 days after service of this summons on you (not counting the day
you received it) — or 60 days if you are the United States or a United States agen¢y, of an officer or employee of the
United States described in Fed. R. Civ. P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached
complaint or a motion under Rule 12 of the Federal Rules of Civil Procedure. The answer or motion must be served
on the plaintiff or plaintiffs attorney, whose names and addresses are: ,

Kenneth Falk/ Stevie Pactor
ACLU of Indiana
1031 E. Washington St.
Indianapolis, IN 46202

If you fail to respond, judgment by default will be entered against you for the relief demanded in the
complaint. You also must file your answer or motion with the court.

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Date: April 26, 2023

 

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Civil Summons (Page 2)
Civil Action Number: Cause No: 2:23-cv-205-JRS-MG

PROOF OF SERVICE
(this section should not be filed with the court unless required by Fed. R. Civ. P. 4(1))

This summons for (name of individual and title, if any) __¢ lovMOLee. Lone oat
was received by me on (date) “la.123

C1 personally served the summons on the individual at (place)

 

 

on (date) 3; or

(J 1 left the summons at the individual’s residence or usual place of abode with (name)

, a person of suitable age and discretion who resides there,

 

on (date) , and mailed a copy to the individual’s last known address; or

[_] I served the summons on (name of individual) , who is
designated by law to accept service of process on behalf of (name of organization)

on (date) ; or

 

C] I returned the summons unexecuted because ; OF

[M1 Other (specify): Cme2722.

My feesare$ O.o@ _fortraveland$ o.cS for services, for a total of $§ O-OO

I declare under penalty of perjury that this information is true.

Date Lh God

Server’s Signature

_Lemeenend Suopour SoSH ¥T

ACLU of Indiana
1031 East Washington St.
Indianapolis, IN 46202

 

Printed name and title

 

Server's address

Additional information regarding attempted service, etc.

 
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5/9/23, 12:59 PM

USPS Tracking’

Tracking Number:

————— a a ae
ase 2:23-cv-00205-JRS-MG Document 8 Filed 05/09/23 Page 3 of 3 PagelD #: 53

USPS.com® - USPS Tracking® Results

70222410000129702159

Copy

Latest Update

Your item has been delivered to an agent for final delivery in TERRE HAUTE, IN 47802 on April 28, 2023

at 6:47 am.

Add to Informed Delivery (https://informeddelivery.usps.com/)

FAQs >

Remove X

 

Get More Out of USPS Tracking:

USPS Tracking Plus®

Delivered to Agent

Delivered to Agent for Final Delivery

TERRE HAUTE, IN 47802
April 28, 2023, 6:47 am

See All Tracking History

Text & Email Updates

USPS Tracking Plus®

Product Information

Track Another Package

SS) 210] sore) 1) =a <9 0 ae en Sic) aon LYN

@ Complete items 1, 2, and 3.

@ Print your name-and address on the reverse
so that we can return the card to you.

@ Attach this card to the back of the mailpiece,
or on the front if space permits.

 

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A, Signature
X Zl Agent
OO Addressee

 

B. Received by (Printed Name) C. Date of Delivery

 

 

1. Article Addressed to:

Complex Warden

Federal Correctional Complex
4700 Bureau Road South
Terre Haute, IN 47802

9590 9402 7395 2055 6221 85

D. Is delivery address different from item 17? © Yes
If YES, enter delivery address below: [J No

 

 

 

 

2. Article Number (Transfer from service label)
fOee 2410 OOO 2970 2159
1 PS Form 3871, July 2020 PSN 7530-02-000-9053

 

Enter tracking or barcode numbers

 

3. Service Type O Priority Mall Express®

0 Adult Signature O Registered Mall™

QO it Signature Restricted Delivery D Registered Mall Restricted
Certified Mall® Dalivery

O Certified Malt Restricted Delivery D Signature Confirmation™

O Collect on Delivery D Signature Confirmation

O Collect on Delivery Restricted Delivery Restricted Delivery

1 Insured Mail

O Insured Mail Restricted Delivery
(over $500)

Domestic Return Receipt {
|

 

https://tools.usps.com/go/TrackConfirmAction?qtc_tLabels1=702224 10000129702159

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